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                                  EXHIBIT 2

                                 COMPLAINT
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                          Department of Police
                                       2330 Madison Avenue
                                          Granite City, IL



  05/23/2019

  JASON S. LYNCH,
  JESSICA M. BARRON,
  KENNETH R. WYLIE
  1632 MAPLE AVE.
  GRANITE CITY IL. 62040

  Re: 1632 MAPLE OCCUPANTS: JASON S. LYNCH, JESSICA M. BARRON, KENNETH R.
  WYLIE, AND ALL KNOWN AND UNKNOWN OCCUPANTS.


  To Whom It May Concern:

          I enclosed a copy of Ordinance #8186, passed March 16, 2010, Ordinance #8343 passed
  04/02/13 , and Ordinance #8344 passed on 04/02/13.
  It is my understanding:
     A) There is evidence of either the commission of a felony in your rental unit allowed or permitted
         by your lessee, or four Ordinance violations in your residential rental unit, or in common areas
         related to your rental unit, with in the past six (6) months. Or,
     B) It is my understanding there is evidence your Lessee or Lessee's guest engaged in acts intended
         to facilitate criminal activity, including drug related criminal activity, within the city limits of
         Granite City. Or,
     C) It is my understanding your Lessee, guest, or person under your Lessee's control, engaged in the
        manufacture, sale, possession, or distribution of illegal drugs, near the leased premises or
        otherwise.



  ON MAY 21ST, 2019 OFFICERS OF THE GRANITE CITY POLICE DEPARTMENT
  RESPONDED TO ERNIE AND ANDY'S, 935 NIEDRINGHAUS A VE. IN REFERENCE
  TO A BUSINESS BURGLARY. THE INVESTIGATION LEAD TO THE ARREST OF
  JASON S. LYNCH WHO RESIDES AT 1632 MAPLE AVE. ON MAY 22ND, 2019
  JASON S. LYNCH WAS FORMALLY CHARGED WITH BURGLARY, A CLASS 2
  FELONY, MADISON COUNTY FELONY WARRANT 2019CF001675. SINCE THIS
  FELONY INCIDENT OCCURRED IN THE CITY OF GRANITE CITY, IT IS A
  DIRECT VIOLATION OF THE GRANITE CITY CRIME FREE MULTI HOUSING
  ORDINANCE AND A VIOLATION OF THE CRIME FREE MULTI HOUSING LEASE
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                                                                                                       Page      12

  ADDENDUM. THIS VIOLATION REQUIRES THAT AN EVICTION NOTICE BE
  SERVED AND THE EVICTION PROCESS INITIATED.



  Per Section 5.142.050 License Suspension and Revocation of Ordinance #8344, a citation may
  be issued by any designated agent or officer of the City of Granite City, as designated and
  specified in this Granite City Municipal Code Section 15.08 et seq, to a licensee under this
  Granite City Municipal Code Chapter 5.142 et seq. if it is determined there are reasonable
  grounds to believe said licensee has violated any of the following subsections:
     A. The lessor of the residential rental unit allowed or permitted the commission of any act or
          omission constituting a felony under Illinois law, on the leased premises or on common areas
          related to the leased premises, or
     B. The commission of four or more violations of City Ordinances within any six-month period,
          within the residential unit, or on common areas related to the rental unit, or
     C.   The failure of the licensed Lessor to take prompt, diligent, and lawful steps to remove the
          Lessees from possession of the rental unit;
                  1.   Following notice of the commission of a felony in the rental unit where allowed or
                       permitted by lessee, or
                  2.   Following notice of four Ordinance violations in the residential rental unit, where
                       allowed or permitted by lessee, or
                  3. Following notice of other violation of the crime-free housing lease addendum,
                       exhibit B, as now or as hereafter amended, where violation of that lease addendum
                       expressly constitutes good cause for termination of the lease.
     D. Failure to comply with any requirement of Section 5.142.030 or Section 5.142.040 of this
          Granite City Municipal Code.
     E.   Failure to comply with Section 5.142.060 of this Granite City Municipal Code.
     F.   Any act of lessee, or guest of a lessee, constituting abuse or harassment of a family or household
          member under the Illinois Domestic Violence Act (750 ILCS 60 et seq.) as now or as here after
          amended, shall not, by itself, constitute solely for the purpose of this section, a violation of any
          lease or lease addendum, or cause to suspend or revoke a business license of a lessor of
          residential real property. However, any simultaneous or concurrent behavior constituting an
          ordinance violation, felony, or misdemeanor, occurring simultaneously or concurrent with the
          violation of the Illinois Domestic Violence Act, may be considered by the Administrative Hearing
          Officer and/or Mayor in any hearing conducted to determine the issuance of a fine or the
          suspension or revocation of the business license of a Lessor of residential real estate property,
          under this section.
     G. Failure to timely pay any fine imposed after hearing under this section.

     H. Further, per your Lease Addendum and Ordinance #8343, adopted April 2, 2013, such a citation
          may issue if your Lessee or members of Lessee's household engaged in any act intended to
          facilitate criminal activity, including drug related activity, within the city limits of Granite City. In
          addition, such a citation may issue where your Lessee or Lessee's guest or other person under
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                                                                                                  age    13

        the Lessee's control, engaged in the manufacture, sale, possession, or distribution of illegal
        drugs at any location, whether on or near the leased premises or otherwise.

     Per Section 5.142.080 Predeprivation Hearing Opportunity. If you submit a grievance,
     it must be submitted in writing within fifteen (15) days of receipt of this notification to
     the Building and Zoning Administrator located at City Hall, 2000 Edison Ave., Granite
     City, IL 62040. In the event the tenant and the landlord, or one of them, fails to file a
     written grievance under this section with the Building and Zoning Administrator,
     within fifteen (15) days of the date stated on the notice served, the grievance procedure
     shall be deemed waived.




     Respectfully,

     Lt. Mike Parkinson
     Crime Free Multi-Housing Officer
     (618) 451-9760 ext. 1189
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                                                                                                                                     Pa g e        14



     Chapter 5.142 - LICENSE FOR LESSORS OF RESIDENTIAL UNITS

     Sections:

     FOOTNOTE(S) :

     --- (48) --- * Ord. No. 8186, § 1, adopted March 16, 2010, amended Ch . 5.142 in its entirety to read as set out herein. All attached
     exhibits are incorporated by reference as if fully set out at length and on file and available for inspection in the offices of the city.
     Former Ch. 5.142, §§ 5.142.010-5.142.050 , pertained to similar subject matter and derived from Ord. 7948 §§ 1-6, adopted
     2006; Ord. 8158, adopted Sept. 15, 2009.


•    5.142.010 - Applicability.


     This ordinance [chapter] shall apply to lessors of residential property, defined for purposes of this chapter as:


       A.

               All landlords and lessors of residential properties, where those residential properties are located within the corporate limits
                     of the city of Granite City, Illinois, as its corporate limits are now or hereafter altered , with out regard to the zoning
                     classification of the property. (" Lessor" and "landlord" may be used interchangeably); and

       B.

               Sellers of contract for deed property , provided:

               1.

                       The contract for deed consists of a real estate installment contract for residential real estate entered into on or after
                            Ap ril 30, 2010 , under which the purchase price is to be paid in installments over a period of less tha n five
                             years or the amount unpaid under the terms of the contract at the time of the fi ling of any eviction proceeding
                             referenced in this chapter, including principal and due and unpaid interest, is less than eighty percent of the
                             original purchase price of the real estate as stated in the contract.

               2.

                       Sellers of contract for deed property described in this subsection shall be included in the definition of "lessors" for
                             purposes of th is chapter.

(Ord. No. 8186, § 1. 3-16-201 0)




•    5.142.020 - License required.


     All lessors of residential properties located within Granite City shall first qualify for and possess a current and valid business
     license fo r each rental unit, renewable no less often than annually. The license shall be location specific, to the individual
     residential rental unit or units, and shall not be transferable. The license fee charged shall not be pro rated in the event the license
     issues less than twelve months before renewal is due. Business licenses for lessors of residential rental units shall expire on the
     December 31 next following the issuance or renewal of the license. No license for a lessor of residential real estate shall issue to a
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     property owned in whole or in part by a land trust, unless the lessor maintains a full-time, staffed office or apartment manager as
     le.ssor's agent, within the corporate limits of Granite City. One business license document issued or renewed by the city clerk may
     reference more than one residential rental unit within the same building or structure, but each individual rental unit shall be
     regarded as requiring and receiving its own, individual business license, specific to that individual rental unit


     (Ord. No. 8186, § 1. 3-16-2010)



•    5.142.030 - Issuance of license.


No residential rental unit shall qualify for a new business license unless the applicant lessor first documents to office of the city

inspector:


             A.

                    The lessor and his property manager, should he have one, has/have, or will attend and successfully complete , a
                    seminar conducted or authorized by the Granite City police chief fo r lessors of residential rental units, no more than
                    three months after the issuance or renewal of the business license,

                    1.

                            For the purposes of this section only a property manager shall be considered an agent of the property owner;
                            and

                    2.

                            Any new property managers hired during the term of the business license shall be required to attend and
                            successfully complete said seminar no later than three months after hiring.

             B.

                    The successful completion of any and all inspections required by law or ordinance, of each residential rental unit that
                    is the subject of the applied for license. by the office of the city inspector, for compliance with all applicable city
                    ordinances, and building and safety codes adopted by city ordinance, and

             C.

                    Completion by the lessor of a form of application for license issuance, to be made available to lessors of residential
                    rental units by the office of the city clerk, in a form substantially similar to the attached exhibit A, and

             D.

                    Satisfaction and payment of all liquidated judgments and liens in favor of the city of Granite City, against the
                    applicant lessor, and against and any owner of greater than a one-fourth interest in the residential real estate parcel
                    in which the residential rental unit is located. whether the interest is held directly or indirectly by the judgment debtor,
                    and

             E.

                    The lessor must file with the office of the city clerk and the city inspector, a name and address of a resident of Illinois
                    authorized to accept service of process and of notices concerning business license hearings.

     (Ord. No. 8186, § 1, 3-16-2010, Ord. No. 8333, § 1, 1- 15-20 13)



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•    5.142.040 - Renewal of license.


     No residential rental unit shall qualify for a renewed business license unless the applicant lessor first documents to office of the
     city inspector:


       A.

               The successful completion of any and all inspections required by law or ordinance, of each residential rental unit that is
                        the subject of the applied for license, by the office of the city inspector, for compliance with all applicable city
                        ordinances, and building and safety codes adopted by city ordinance, and

       B.

                   Completion by the lessor of a form of application for license renewal, to be made available to lessors of residential rental
                        units by the office of the city clerk, in a form substantially similar to the attached exhibit A, and

       C.

               The lessor must file with the office of the city clerk and the city inspector, a name and address of a resident of Illinois
                        authorized to accept service of process and of notices concerning business license hearings.

        D.

                   It shall be considered grounds for revocation of a renewed license, after notice and hearing, for a lessor to fail to satisfy
                        and pay all liqu idated judgments and liens in favor of the city and against the licensed lessor.

(Ord. No . 8186, § 'I 3-1 6-2010)



•    5.142.050 - License violation: fine, suspension and revocation.
•    A.
•    A citation may be issued by any designated agent or officer of the city of Granite City, as designated and specified in this Granite
     City Municipal Code ,:;hs:;ne, ·, 5. DE~et seq., to a licensee under this Granite City Municipal Code ~-;:•,$'.!::<2~ ..~ ..:i''•2et seq. if it is
     determined there are reasonable grounds           to   believe said licensee has violated any of the following subsections:


              1.

                        The lessor of the residential rental unit allowed or permitted the commission of any act or omission constituting a
                        felony under Illinois law, on the leased premises or on common areas related             to   the leased premises , or

              2.

                        The commission of four or more violations of city ordinances within any six-month period, within the residential unit,
                        or on common areas related     to the   rental unit, or

              3.

                        The failure of the licensed lessor to take prompt, diligent and lawful steps to remove the lessees from possession of
                        the rental unit;

                        a.
                               Following notice of the commission of a felony in the rental unit where allowed or permitted by lessee, or

                        b.

                               Following notice of four ordinance violations in the residential rental unit, where allowed or permitted by
                               lessee, or
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                                                                                                                              Page        17

              C.

                     Following notice of other violation of the crime-free housing lease addendum , exhibit B, as now or as hereafter

                     amended, where violation of that lease addendum expressly constitutes good cause for termination of the

                     lease.



       4.

              Failure to comply with any requirement of Se.;,i:,·. 5 · -'i-2.J30or Seg:ipr. 5.'142,0.t.::of this Granite City Municipal

              Code, including, but not limited to, failure to pay liquidated judgments and liens owed the city.

       5.

              Failure to comply with Se~tion 5 · "-2.JS:,of this Granite City Municipal Code.

       6.

              Any act of lessee, or guest of a lessee , constitut ing abuse or harassment of a family or household member under the

              Illinois Domestic Violence Act (750 ILCS 60 et seq .) as now or as hereafter amended , shall not, by itself, constitute

              solely for the purposes of this section , a violation of any lease or lease addendum , or cause to suspend or revoke a

              business license of a lessor of res idential real property. However, any simultaneous or concurrent behavior
              constituting an ordinance violation, felony , or misdemeanor, occurring simultaneously or concurrent with the violation

              of the Illinois Domestic Violence Act, may be considered by the administrative hearing officer and/or mayor in any

              hearing conducted to determine the issuance of a fine or the suspension or revocation of the business license of a

              lessor of residential real estate property, under this section.

       7.

              Failure to timely pay any fine imposed after hearing under this section .

  B.

       The administrative hearing officer as interpreted in this Granite City Municipal Code _Sectio;-, __ ,. ·et seq . shall hear all

       citations issued under this section .

       1.

              Upon a finding of a violation under this section , the hearing officer shall be authorized to order as to the lessor, any

              or all of the following:

              a.

                     Fines of no less than fifty dollars and no more than seven hundred fifty dollars per violation under this section;

              b.

                     Retraining and successful completion of a seminar, conducted or authorized by the Granite City police
                     department, for lessors of residential rental units within a time frame to be determined by the hearing officer;

              c.

                     Referral of matter to mayor for hearing to determine if lessor license should be suspended or revoked as

                     dictated by Subsection C herein.

  C.

       The office of the mayor may conduct hearings per Granite City Municipal Code S e ~ f l :.et seq. , to suspend or

       revoke the business license of a lessor of residential rental property, in accordance with city ordinance, where a finding by
       the administrative hearing officer refers the violation to the office of the mayor, and where after notice and hearing
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                                                                                                                                           ge   18

         per Sec:i:;0115.G2.19Get seq . by the mayor it is found that a violation under this section has occurred by the lessor. the

         mayor shall be authorized to order as to the lessor, any and all of the following:



                1.

                      Retraining and successful completion of a seminar, conducted or authorized by the Gran ite City police

                      department, for lessors of residential rental units, within a time frame to be determined by the mayor;

         2.

                Suspension of the lessor's business/landlord 's license, for a time not to exceed thirty days:

         3.

                Revocation of the lessor's business/landlord 's license;

         4.

                Imposition and timely payment of a fine in accordance with other city ordinance, including , but not lim ited to ,

                Ord inance 8158.

  D.

         Notice: Whenever a citation may be issued by any designated agent or officer of the city of Granite City, as designated and
         specified in this Granite City Municipal Code Gha•::i,:E! · :;,,;;.;.et seq. , for an alleged violation under th is section the

         licensee/lessor, agent or property manager shall be given notice of such alleged violation . Said violation notice shall:

         1.

                Be in writing ;

         2.

                Contain a statement of the reason(s) for issuance of the citation , including specific reference to the code(s) being

                ailegedly violated; and

         3.

                Be served upon the owner, agent or occupant of the dwelling either personally or by fi rst-class mail to licensee's last
                known address.

  E.

         Should a court of competent jurisdiction determ ine any term , language or provision of th is ordinance be null and void , the

         remainde r of this ordinance shall be deemed severable. and remain in fu ll force and effect.

  F.

         The effective date of this amendment shall be June 1, 2013.

  (Ord. No. 8344, 4-2-2013)


  * Ord . No. 8344, adopted April 2, 2013, amended ,;:      e·C    c,5::in its entirety to read as set out herein. Former j :
  5.'!42 .()5Cpertained to license suspension and revocation and derived from Ord. No. 8186, Ji~ adopted March 16, 2010.
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•    5.142.060 - Lease agreement-Addendum.


     Every agreement for lease of residential real estate located within the corporate limits of the city of Granite City, executed or
     renewed after the effective date of this ordinance [chapter], whether oral or written, shall be deemed to include all terms listed on
     the lease addendum , attached as Exhibit B.


(Ord. No . 8186, § 1, 3-16-2010)



•    5.142.070 - Severability.
•    In the event any court of compete nt jurisdiction should declare any provision of this ordinance [chapter] unenforceab le, all
     remaining provisions of this ordinance [chapter] shall be deemed severable, and shall rema in in full force and effect.



(Ord. No. 8186, § 1, 3- 16-20 10)



•    5.142.080 - Predeprivation hearing opportunity.
•    Before the mayor conducts hearings per Granite City Municipal Code §l}ct!QD5J)2. · £1)et seq., to suspen d or revoke the business
      license of a lessor of residential rental property for cause identified in this chapter, the following procedures shall be followed.
     Simultaneously with the service of any request made upon a land lord for implementation of eviction or other proceedings to
     te rminate a res idential lease, the following procedu re shall be followed:


       A.

                Notice shall be served by U.S. Mail upon the landlord and the tenant, containing at a minimu m, a copy of this chapter, the
                      address of the building and zoning administrator, and facts alleging the gro un ds fo r revocati on or suspension of the
                      lessor's or landlord' license. In the event the tenant and the landlord, or one of them . fails to file a written grievance
                      under this section with the building and zoning administrator within fifteen days of the date stated on the notice
                      served , the grievance procedure sha ll be deemed waived. In the discretion of the hearin g officer described below,
                      the w ritten grievance may be accepted late. In the event of waive r of the grieva nce procedure as stated in this
                      subparagraph , the landlord must demonstrate to the mayor compliance with this chapter in a business license
                      hearing, or the mayor may fine, suspend , or revoke the land lord's business license as lessor of residential property,
                      pursuant to this chapter, as stated above.

        B.

                In the event of the timely fi ling of a written grievance by the landlord or the tenant under this section , the grievant shall
                      receive a hearing before a hearing officer before any steps are taken toward revocation of the landlord's business
                      license, and before further steps taken by the city to request eviction. The hearing officer conducting the hearing on
                      the grievance of the landlord or tenant described in this chapter, shall be the municipal judge serving before the
                      mun icipal court, to administer and interpret Granite City Mu nicipal Code §ipcfa"J,'   "✓J.,_q ·u)et   seq. The mayor may
                      select and the Granite City city council may approve, a different individua l to serve as hearing officer for the
                      grievance proceedings under this chapter.

        C.

                The grievant may be the landlord , or the tenant. "Tenant" shall mean the adult person (or persons) (other than a live-in
                      aide):
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                                                                                                                       Page llO


        1.

              Who resides in the unit, and who entered into the lease as lessee of the dwelling unit. or, if no such person now
                    resides in the unit

        2.

              Who resides in the unit, and who is the remaining head of household of the tenant family residing in the dwelling
                    unit

   D.

        Failure to request a hearing. Failure to request a hearing shall not constitute a waiver by the tenant of his right thereafter
             to contest an eviction disposing of the eviction complaint in an appropriate judicial proceeding.

   E.

        Scheduling of hearings. Upon grievant's compliance with this section, a hearing shall be scheduled by the hearing officer
             promptly. A written notification specifying the time. place and the procedures governing the hearing shall be mailed to
             the grievant at the address provided by the grievant.

   F.

        Expedited grievance procedure. The city council may establish an expedited grievance procedure for any grievance
             concerning a termination of tenancy or eviction that involves:

        1.

              Any criminal activity that threatens the health, safety, or right to peacefu l enjoyment of the residential premises by
                    other residents, or

        2.

               Any drug-related criminal activity on or near such premises.

   G.

        The grievant shall be afforded a fair hearing before the hearing officer, which shall include:

        1.

               The opportunity to examine before the grievance hearing documents, including records and regulations, that are
                    directly relevant to the hearing. The tenant or landlord shall be allowed to copy any such document at thei r
                    own expense. If the building and zoning adm inistrator or police department does not make the document
                    available for examination upon request by the grievant, the bu ilding and zoning adm inistrator or police
                    department may not rely on such document at the grievance hearing.

        2.

               The right to be represented by counsel or other person chosen as the landlord's or tenant's representative , and to
                    have such person make statements on the tenant's behalf;

        3.

               The right to present evidence and arguments in support of th e landlord's or tenant's grievance, to controvert
                    evidence relied on by the police or building and zoning administrator, and to confront and cross-examine all
                    witnesses upon whose testimony or information the police or building and zoning administrator relies; and

        4.

               A decision based solely and exclusively upon the facts presented at the hearing, based upon the preponderance of
                    the evidence presented .
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                                                                                                                                    Page          Ill

          H.

                    The hearing officer may render a decision without proceeding with the hearing if the hearing officer determines that the
                         issue has been previously decided in another proceeding.

          I.

                    If the grievant fails to appear at a scheduled hearing , the hearing officer may make a determination to postpone the
                         hearing for a time not to exceed five business days or may make a determination that the party has waived his right
                         to a hearing. Both the landlord and tenant shall be notified of the determination by the hearing officer: Provided , that
                         a determination that the grievant has waived his right to a hearing shall not constitute a waiver of any right the
                         grievant may have to contest the disposition of the grievance in an appropriate judicial proceeding.

     J.

                    At the hearing , the complainant must first make a showing of an entitlement to the relief sought and thereafter the police
                         or building and zoning administrator must sustain the burden of justifying the action or failure to act against which the
                         grievant is directed.

          K.

                    The hearing shall be conducted informally by the hearing officer and pertinent oral or documentary evidence may be
                         received without strict compliance with the rules of evidence applicable to judicial proceedings. The hearing officer
                         may rely on any evidence that prudent people would rely upon in the conduct of serious affairs. Failure to comply
                         with the directions of the hearing officer to maintain decorum and order may result in exclusion from the proceedings
                         or in a decision adverse to the interests of the disorderly party, and granting or denial of the relief sought, in the
                         hearing officer's discretion .

          L.

                    The hearing officer shall prepare a written decision, together with the reasons therefore, within a reasonable time after the
                         hearing. A copy of the decision shall be mailed to the landlord grievant, and the tenant. A decision by the hearing
                         officer which denies the relief requested by the grievant in whole or in part shall not constitute a waiver of, nor affect
                         in any manner whatever, any rights the grievant may have to a trial on the original merits or judicial review in any
                         judicial proceedings, which may thereafter be brought in th e matter.

          M.

                    The hearing officer's decision shall be limited to the question whethe r the land lord must begin eviction proceedings
                         against the tenant. The hearing officer's decisio n may be appealed within ten days to the mayor, whose decision
                         shall govern. In the event of appeal of a hearing officer's decision , the mayor shall conduct the appeal hearing under
                         the same procedures described herein for the hearing officer.

(Ord. No. 8186, § 1, 3-16-2010)



•    5.142.090 - [Penalties for failure to complete lessor seminar.]

               A.

     Authority is given for tickets to be issued under the alternative ticket program as defined in _Section · _2,.,. ,J· '.)et seq. of the Granite
     City Municipal Code, to lessors who have failed to complete the lessor seminar as prescribed in
     Sections 5.',.:;.?.C3Gand !i ',42.G.!!-Cof the Granite City Municipal Code. All tickets issued under SecJ:v · .2•:-. D'-S;for the failure of
     lessor to so comply with Sections 5.'1 42 .030and 5.'i 42. G, .Jof the Granite City Municipal Code shall be heard and adjudicated by
     the administrative hearing officer of the city of Granite City, before any fine on said ticket is due. Lessors who fail to complete the
     lessor seminar are subject to ticket for each business license they are applying for or currently own and are attempting to renew.
     Tickets may be issued semi-annually per business license until such time as the office of building and zoning is presented with
     documentation that the lessor completed the lessor seminar.
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                                                                                                                                      Page 112




  B.
         The administrative hearing officer shall have the authority to issue fines of no more than seven hundred fifty dol lars per

         ticket issued under this section.

  C.

         This section is in addition to the remedies set forth in _f:;,::1:   :': .·:4;.;:.0.§,Qof the Granite City Municipal Code.

  (Ord. No . 8311, § 1. 9-4-2012)
